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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 WADE HAMMOND, individually, and on
 behalf of all others similarly situated,

 Plaintiff,                                        Case no. 18-cv-02092

 v.                                                Judge Sara Ellis

 ATLANTIC CREDIT FINANCE, INC.,

 Defendant.

                         NOTICE OF VOLUNTARY DISMISSAL

        Notice is hereby provided that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), Plaintiff WADE HAMMOND, in his individual capacity, is dismissing his

claims against ATLANTIC CREDIT FINANCE, INC. This Notice of Voluntary Dismissal

does not serve to dismiss any claims asserted on behalf of putative class members.

        Accordingly, Plaintiff respectfully requests that this Honorable Court issue a

minute order acknowledging this filing to as to vacate all previously set dates.

        Respectfully Submitted,

        Plaintiff WADE HAMMOND

        /s/ James C. Vlahakis
        James C. Vlahakis
        Sulaiman Law Group, LTD
        2500 S. Highland Ave., Suite 200
        Lombard, Illinois 60148
        Phone: (630) 575-8181
        jvlahakis@sulaimanlaw.com



                              CERTIFICATE OF SERVICE

      I, James C. Vlahakis, counsel for Plaintiff certify that I caused a copy of the
document to be served by ECF on all ECF-registered counsel of record, this 12th day of
June 2018.
                                             /s/ James C. Vlahakis
